USCA4 Appeal: 21-6591      Doc: 31         Filed: 03/23/2023     Pg: 1 of 5




                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 21-6591


        FRANCISCO MASIAS,

                             Plaintiff - Appellant,

                      v.

        WARDEN HODGES, sued in official and individual capacity; CAPTAIN RIFFLE,
        sued in official and individual capacity; S.I.S. ALDRIGE, sued in official and
        individual capacity; DR. WILSON, sued in official and individual capacity; AUSA
        FLOWERS, sued in official and individual capacity; AUSA BAUER, sued in
        official and individual capacity,

                             Defendants - Appellees.



        Appeal from the United States District Court for the Northern District of West Virginia, at
        Wheeling. John Preston Bailey, District Judge. (5:20-cv-00171-JPB-JPM)


        Submitted: March 16, 2023                                         Decided: March 23, 2023


        Before NIEMEYER, HARRIS, and HEYTENS, Circuit Judges.


        Affirmed in part, vacated in part, and remanded by unpublished per curiam opinion.


        Francisco Masias, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 21-6591      Doc: 31         Filed: 03/23/2023        Pg: 2 of 5




        PER CURIAM:

               Francisco Masias appeals the district court’s orders dismissing his complaint, which

        raised Fifth and Eighth Amendment claims against several federal prison employees and

        two Assistant United States Attorneys under Bivens v. Six Unknown Named Agents of

        Federal Bureau of Narcotics, 403 U.S. 388 (1971), and denying Masias’ postjudgment

        motion to amend his complaint and vacate the dismissal order under Fed. R. Civ. P. 59(e). 1

        Masias asserted a Fifth Amendment due process violation based on his placement in the

        segregated housing unit (“SHU”) for over a year and the denial of a hearing regarding the

        conditions in the SHU. He also raised Eighth Amendment claims based on the conditions

        of confinement in the SHU and his medical treatment. Finally, Masias alleged a First

        Amendment retaliation claim. The district court dismissed Masias’ complaint sua sponte,

        determining that a Bivens remedy was unavailable because Masias’ claims presented a new

        context, and special factors counselled against extending a Bivens remedy. We affirm in

        part, vacate in part, and remand for further proceedings.

               Turning first to Masias’ Fifth and Eighth Amendment claims regarding his

        placement in the SHU and the conditions of confinement and his First Amendment

        retaliation claim, we have reviewed the record and find no reversible error in the denial of

        these claims. Accordingly, we affirm these portions of the district court’s judgment.




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                 We construe Masias’ informal brief as the functional equivalent of a notice of
        appeal from the district court’s postjudgment order. See Fed. R. App. P. 4(a)(1)(A);
        Smith v. Barry, 502 U.S. 244, 248-49 (1992).

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USCA4 Appeal: 21-6591        Doc: 31         Filed: 03/23/2023     Pg: 3 of 5




        Masias v. Hodges, No. 5:20-cv-00171-JPB-JPM (N.D.W. Va. Apr. 8, 2021); see Tate v.

        Harmon, 54 F.4th 839 (4th Cir. 2022).

                 Next, we consider Masias’ appeal of the district court’s determination that a Bivens

        remedy was unavailable for his Eighth Amendment challenge to his medical treatment.

        “This Court reviews de novo a district court’s dismissal for failure to state a claim under

        28 U.S.C. § 1915A.” Shaw v. Foreman, 59 F.4th 121, 126 (4th Cir. 2023). Dismissal is

        only proper when, “after accepting all well-pleaded allegations in the plaintiff’s complaint

        as true and drawing all reasonable factual inferences from those facts in the plaintiff’s

        favor, it appears certain that the plaintiff cannot prove any set of facts in support of his

        claim entitling him to relief.” Id. (internal quotation marks omitted).

                 In his complaint, Masias alleged that he received delayed treatment for a nasal

        infection and had been denied treatment for a hernia, an ankle injury, and issues with his

        toenail. The court reasoned that Masias’ claims presented a new context from Carlson v.

        Green, 446 U.S. 14 (1980)—which recognized a Bivens remedy for a claim of Eighth

        Amendment deliberate indifference to serious medical needs—because Masias’ claims

        were not as severe as those in Carlson and were not likely to cause permanent damage or

        death.

                 After the dismissal of his complaint, Masias moved to amend his complaint and to

        vacate the dismissal order under Rule 59. His proposed amended complaint included

        allegations that a medical evaluation showed that his ankle injury was due to torn

        ligaments, which would require surgery, and he claimed that he had been unable to properly

        walk on his ankle for several years. Masias also claimed that his nasal infection required

                                                      3
USCA4 Appeal: 21-6591      Doc: 31         Filed: 03/23/2023     Pg: 4 of 5




        surgery. Finally, his asserted that his hernia caused pain for over a year and that he was

        referred to a specialist to determine whether the pain was caused by a hernia or cancer.

               We conclude that the facts alleged in Masias’ complaint and proposed amended

        complaint do not present a new context and that, viewing the facts alleged in the light most

        favorable to Masias, a Bivens remedy was available. See Carlson v. Green, 446 U.S. 14

        (1980); Langford v. Joyner, __ F.4th __, __, No. 21-7737, 2023 WL 2335957, at *3 (4th

        Cir. Mar. 2, 2023) (evaluating sufficiency of Bivens complaint under deliberate

        indifference standard where plaintiff alleged small bowel obstruction and abdominal

        infection, which required surgery and caused abdominal pain, nausea, vomiting, difficulty

        walking, and diarrhea). Accordingly, the district court should have permitted Masias to

        amend his complaint. 2 See Robertson v. Anderson Mill Elementary Sch., 989 F.3d 282,

        291 (4th Cir. 2021); Katyle v. Penn Nat’l Gaming, Inc., 637 F.3d 462, 471 (4th Cir. 2011).

               We therefore vacate the district court’s dismissal of Masias’ Eighth Amendment

        deliberate indifference claim based on his medical treatment and the court’s order denying

        Masias’ postjudgment motions, and we remand for consideration of whether Masias

        alleged a deliberate indifference claim and whether dismissal of Masias’ claim is proper

        on other grounds. We express no opinion on the ultimate disposition of Masias’ deliberate

        indifference claim. We dispense with oral argument because the facts and legal contentions




               The district court did not have the benefit of Langford when it dismissed Masias’
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        complaint.

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USCA4 Appeal: 21-6591         Doc: 31     Filed: 03/23/2023     Pg: 5 of 5




        are adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                     AFFIRMED IN PART, VACATED IN PART,
                                                                        AND REMANDED




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